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     2                                                                            sEp 04 2112
     3                                                                      C        s aserRlcrcouv
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     4                                                                    BY                   DEPUW

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     7                              U N IT ED STA TES D ISTR IC T C O U R T
     8                                      D IST RICT O F NE VA D A

I    9 UNITED STATES 0F AMERICA,                          )
I                                                         )
    l0                         Plaintiffs                 )
                                                          )
    11          v.                                        )           2:12-CR-08l-PM P-IRJJ)
                                                          )
    12 M ANUEL M IRANDA RAZO,akaHFresh'',                 )
                                                          )
    13                         Defendant.                 )
    14                           PR ELIM INA RY O R D ER O F FO R FEITU RE
l
!   15     ThisCourtfindstlmton September4, 2012,defendantM ANUEL M IRAN DA RAZO,aka
l      :<   '' l
j   16 Fresh p edguiltytoCountsOneandTwoofaTen-countCriminalIndictmentcharginghim in
i
!   17 Count0newithConspiracytoDistributeaControlledSubstance-CocaineinviolationofTitle21,

    18 United SutesCode,Sedions846ard 84l(a)(1)andinCountTwowithConspiracytoDistributea
    l9 Controlled Substance-M ethamphetnmineinviolationofTitle21,United StatesCode,Sections846

    20 and 841(a)(1).CriminalIndictment,ECFNo.20
    21         ThisCourtfinds(Ief'
                                 eILIIaIWM ANUELM IRZNNDA RAZO,aka<Tresif'agm edtotheforfeiture

    22 ofthe property setforth in ForfeitureAllegationsofthe Crim inallndictm entand agreed to in the
    23 PleaM em orandum .Criminallndictment,ECF No.20.

    24          ThisCourttinds,pursuantto Fed.R.Crim .P.32.2(b)(1)and (2),the United Statesof
    25 Am erica has show n the requisite nexusbetw een the property setforth in the Forfeiture A llegations
    26
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 1 oftheCrim inalIndictmentand theoffensesto whichdefendantM ANUEL M IRAN DA RAZO,aka
 2 GtFresh''pled guilty.

 3          The following assetsare subjectto forfeiture pursuantto Title 2l,United StatesCode,
 4 Section853(a)(1)and(a)(2);andTitle18,UnitedStatesCode,Section924(d)(1),(2)(C),and(3)(B)
 5 andTitle28,UnitedStatesCode,Section2461(c):
 6                 a.      $6,871.00 in United StatesCurrency,seized from Defendants;
 7                 b.      Heckler& Koch,Black,9m m Handgun,SerialNum ber24-088771;
 8                 c.      Sm ith & W essonM agnum .357 Revolver,Silver,SerialNumber13A40487;

 9                 d.      Sig SauerP238,.380calibersBlack Handgtm,SerialN um ber27A945232;
10                 e.      M ondial1900 Single ShotBlack Handgun,.22 caliber,SerialN um ber

1l                         A78870;
12                 f.      B&A Revolver,Silver,.22 caliber,No serialnumberobselwed;and

13                 g.      anymzdallarnmtmitionCpropertf').
14          ThisCourttindstheUnited StatesofAmerica isnow entitled to,and should,reducethe

15 atbrem entionedproperty to thepossession oftheUnited StatesofAm erica.
16          NOW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe
17 United StatesofAm ericashould seizetheaforementioned property.

18          IT IS FU RTH ER ORD ERED ,A DJU D GED ,AN D DECR EED a11right,title,and interestof
19   M ANUEL M IRANDA RAZO,akatTresh''intheaforem entionedpropertyisforfeitedandisvested

20 intheUnited StatesofAm ericaand shallbesatklyheld bytheUnited StatesofAm ericauntilfurther
21 orderofthe Court.

22          IT ISFURTHER ORDERED,ADJUDGED,AND DECREED theUnited StatesofAm erica

23 shallpublishforatleastthirty(30)consecutivedaysontheoftkialinternetgovernmentforfeiture
24 w ebsite,w wm forfeiture.gov,notice ofthisO rder,w hich shalldescribe theforfeited property,state
25 thetimeundertheapplicablestatutewhenapetitioncontestingtheforfeiturem ustbetiled,and state

26 ...
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      l the nam e and contactinform ation for the governmentattorney to be served with the petitions

     2 pursuarlttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
     3          IT IS FURTHER ORDERED,ADJUDOED,AND DECREED a petition,ifany,mustbe
     4 filed with theClerk oftheCourt,333 LasVegasBoulevard South,LasVegas,Nevada89101.

     5          IT ISFURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetition,ifany,

i    6 shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttonzey's Oftice atthe
     7 following addressatthetime offiling:
     8                 M ichaelA .Humphreys
'
                       AssistantUnited StatesAttorney
     9                 DanielD .Hollingsworth
                       A ssistantUnited StatesA ttorney
     10                Lloyd D.GeorgeUnited StatesCourthouse
                       333 LmsV egasBoulevard South,Suite 5000
     11                LasV eg% ,N evada 89101.

     12         IT IS FURTH ER OR DER ED,A DJU DG ED ,AN D DECREED the notice described herein

     13 need notbe published in the eventaDeclaration ofForfeitureisissued by theappropriateagency
     14 followingpublication ofnoticeofseizureand intentto adm inistratively forfeittheabove-described
     15 property.

     l6         DATEDthis lh dayof                f'            ,2O12.
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     19                                                       TA ES D ISTRICT JU DG E
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